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                            UNITED STATES DISTRICT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                 )
                                         )
v.                                       )      Case No. 1:21-cr-00500-CJN
                                         )
MICHAEL BROCK,                           )
                                         )
       Defendant.                        )


                    MOTION FOR SUBSTITUTION OF COUNSEL

       Defendant Michael L. Brock, by and through the undersigned retained counsel,

and pursuant to Local Rule 44.5 of the Criminal Rules of Procedure for the Federal

District Court of the District of Columbia, hereby respectfully requests this Court

Order the substitution of Guy Womack, Guy L. Womack and Associates P.C. with the

undersigned retained counsel.


       The undersigned submits that the substitution of counsel will not

unnecessarily delay trial of the case or be unfairly prejudicial to any party, or

otherwise not be in the interests of justice.


Date: January 31, 2022                   Respectfully Submitted,



                                         John M. Pierce (PHV Admitted)
                                         21550 Oxnard Street
                                         3d Floor, PBM#172
                                         Woodland Hills, CA 91367
                                         Tel: (213) 279-7648
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                                CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, January 31, 2022, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                   /s/ John M. Pierce
                                             John M. Pierce
